
79 So. 3d 152 (2012)
Cedric BUSH, Appellant,
v.
The STATE of Florida, Appellee.
No. 3D11-3255.
District Court of Appeal of Florida, Third District.
February 1, 2012.
Cedric Bush, in proper person.
Pamela Jo Bondi, Attorney General, for appellee.
Before SALTER, EMAS, and FERNANDEZ, JJ.
PER CURIAM.
The defendant's motion under Florida Rule of Criminal Procedure 3.800 was denied by the trial court. Because the defendant is challenging his conviction rather than his sentence, we treat his motion as a motion under Florida Rule of Criminal Procedure 3.850. See, e.g., Rivas v. State, 43 So. 3d 154, 156 (Fla. 3d DCA 2010). The motion, pursuant to this Court's precedent in Little v. State, 77 So. 3d 722 (Fla. 3d DCA 2011), was legally insufficient on its face and thus properly denied.
Affirmed.
